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 In the United States Court of Federal Claims
                                           No. 13-779 C
                                       Filed: May 20, 2016

*************************************
                                    *                  5 U.S.C. § 2105 (“Employee” defined for
CILICIA A. DeMONS, et al.,          *                     purposes of Title 5);
                                    *                  5 U.S.C. §§ 6301–6391 (Annual and Sick
                                    *                     Leave, Other Paid Leave, Voluntary
      Plaintiffs,                   *                     Transfers of Leave, Voluntary Leave
                                    *                     Bank Program, Family and Medical
v.                                  *                     Leave, and Leave Transfer in
                                    *                     Disasters and Emergencies);
THE UNITED STATES,                  *                  38 U.S.C. §§ 7454(b)(1), (b)(2)
                                    *                     (Physician assistants and other health
      Defendant.                    *                     care professionals);
                                    *                  RCFC 23(c)(2) (Class Action Notice).
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    MEMORANDUM OPINION AND ORDER APPROVING NOTICE OF A CLASS
    ACTION, AMENDING CLASS CERTIFICATION, AND APPOINTING CLASS
                      ACTION ADMINISTRATOR

      On April 29, 2016, Plaintiffs filed a Motion For Approval Of Notices To The Class,
Approval Of Amendments To The Class Certifications To Reflect Consolidation Of The Cases, And
To Appoint The Class Action Administrator. The Government objected.

       On May 4, 2016, Plaintiffs filed an Unopposed Motion For Leave To Withdraw the April 29,
2016 Motion and substituted a new Joint Motion To Approve Notices To The Class, Approval Of
Amendments To The Class Certifications To Reflect Consolidation Of The Cases, And To Appoint
The Class Action Administrator. After consideration, the court grants Plaintiffs’ May 4, 2016
Unopposed Motion To Withdraw the April 29, 2016 Motion, however, the parties’ May 4, 2016 Joint
Motion is denied.

        The court, however, has determined that it is appropriate to certify two subclasses in this
case:

       DeMONS SUBCLASS ONE: All General Schedule employees, as defined by 5 U.S.C. §
2105, who were employed between July 1, 2012 and February 28, 2016 by the Department of
Veterans Affairs (“VA”) in one of the following occupations:

        1. Certified or Registered Respiratory Therapist, Licensed Physical Therapist, Licensed
           Practical Nurse (“LPN”), Licensed Vocational Nurse (“LVN”), Pharmacist, Occupational
           Therapist, Graduate Nurse or Nurse Pending Graduation by the Veterans Health
           Administration, Audiologist, Audiologist-Speech Pathologist, Speech Pathologist,
           Biomedical Engineer, Corrective Therapist or Kinesiotherapist, Dental Assistant, Dental
           Hygienist, Dietitian, Marriage and/or Family Therapist, Licensed Professional Mental
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          Health Counselor, Medical Instrument Technician, Medical Records Technician, Medical
          Support Assistant, Medical Technologist, Nuclear Medicine Technologist, Occupational
          Therapy Assistant, Orthotist or Orthotist-Prosthetist, Pharmacy Aid or Pharmacy
          Technician, Physical Therapy Assistant, Prosthetic Representative, Psychologist,
          Diagnostic Radiologic Technician or Technologist, Therapeutic Radiologic Technician or
          Technologist, Social Worker, Blind Rehabilitation Specialist or Blind Rehabilitation
          Outpatient Specialist, Medical Support Assistant, Nursing Assistant, Therapeutic Medical
          Physicist or Medical Physicist, and

             a. who regularly and customarily worked on a tour of duty any part of which was
                within the period beginning 6 p.m. and ending 6 a.m., and/or on a tour of duty
                any part of which was within 12:00 midnight Friday and ending 12:00 midnight
                Saturday (not including any Sunday hours); and

             b. who received night differential pay of 10% and/or Saturday premium pay of 25%
                or more, pursuant to 38 U.S.C. §§ 7454(b)(1), (b)(2), for each such hour of
                service between 6 p.m. and ending 6 a.m., and/or for each such hour of service
                between 12:00 midnight Friday and 12:00 midnight Saturday (not including any
                Sunday hours); and

             c. who received pay during periods of authorized paid leave, pursuant to 5 U.S.C.
                §§ 6301–6391, for any part of a tour of duty between 12:00 midnight Friday to
                12:00 midnight Saturday (not including any Sunday hours) that was reduced in an
                amount equal to the Saturday premium pay to which such employees would have
                been entitled, if they performed regular and customary work on Saturdays instead
                of using authorized paid leave; and/or

             d. hybrid employees who were designated to receive premium pay on the same basis
                as nurses, who received pay during periods of authorized paid leave, pursuant to 5
                U.S.C. §§ 6301–6391, for any part of such tours of duty between 6 p.m. and 6
                a.m., that was reduced in an amount equal to the night differential pay that VA
                employees would have been entitled, if they performed regular and customary
                work at night, instead of using authorized paid leave.

       DeMONS SUBCLASS TWO: All General Schedule employees, as defined by 5 U.S.C §
2105, who were employed between July 1, 2012 and February 28, 2016 by the VA in one of the
following occupations:

          1. Series 0060 Chaplain; Series 0101 Social Science; Series 0102 Social Science Aid
             and Technician; Series 0181 Psychology Aid and Technician; Series 0184 Sociology;
             0186 Social Services Aid and Assistant; Series 0187 Social Services; Series 0188,
             Recreation Specialist; Series 0189, Recreation Aid and Assistant; Series 0401,
             General Biological Science; Series 0403, Microbiology; Series 0404, Biological
             Science Technician; Series 0405, Pharmacology; Series 0413, Physiology; Series
             0415,Toxicology; Series 0601, General Health Science; Series 0625, Autopsy
             Assistant; Series 0636, Rehabilitation Therapy Assistant (Except for Occupational
             Therapy Assistant and Physical Therapy Assistant); Series 0637, Manual Arts
             Therapist; Series 0638, Recreation/Creative Arts Therapist; Series 0639, Education
             Therapist; Series 0640, Health Aid and Technician (Except for Certified Respiratory

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               Therapist); Series 0645, Medical Technician; Series 0646, Pathology Technician;
               Series 0651, Respiratory Therapist; Series 0664, Restoration Technician; Series 0670,
               Health System Administration; Series 0671, Health System Specialist; Series 0673,
               Hospital Housekeeping Management; Series 0683, Dental Laboratory Aid and
               Technician; Series 0690, Industrial Hygienist; Series 0698, Environmental Health
               Aid and Technician; Series 0699, Student Nurse Technician (Title code 63 only);
               Series 0701, Veterinary Medical Science; Series 0704, Animal Health Technician;
               Series 1020, Medical Illustrator; Series 1060, Photographer (Medical); Series 1301,
               General Physical Science; Series 1306, Health Physics; Series 1310, Physics; Series
               1311, Physical Science Technician; Series 1320, Chemistry; Series 1601, Biomedical
               Equipment Support Specialist; Series 1725, Public Health Educator; Series 1910,
               Quality Assurance; and

                   a. who regularly and customarily worked on a tour of duty any part of which
                      was within the period beginning 12:00 midnight Friday and ending 12:00
                      Saturday; and

                   b. who received premium pay of 25% or more, pursuant to 38 U.S.C. §
                      7454(b)(3), for each such hour of service between 12:00 midnight Friday and
                      12:00 midnight Saturday; and

                   c. who received pay during periods of authorized paid leave, pursuant to 5
                      U.S.C. §§ 6301–6391, for any part of a tour of duty from 12:00 midnight
                      Friday to 12:00 midnight Saturday that was reduced in an amount equal to the
                      Saturday premium pay, pursuant to 38 U.S.C. § 7454(b)(3), to which such
                      employees would have been entitled, if they performed their regular and
                      customary work on Saturdays, instead of using authorized paid leave.

      The court also has determined that Epiq Systems Inc. is certified as Class Action
Administrator (“Administrator”).

         On or before July 1, 2016, the Administrator will provide a Summary Notice of the
certification to each member of a subclass, designated herein, by Postcard, to last known addresses.
The cost of the Postcard and mailing will be paid by Class Counsel. The Summary Notice will refer
to www.myleavepay.com, a website operated and maintained by the Administrator. The website
will post the court’s Official Notice, and a copy of the claim that a putative class member may file by
Internet or mail to DeMons P.O. Box 4349, Portland, Oregon 97208-4349, no later than August 15,
2016.

         The Government will provide the Administrator, in electronic form, with the names and
addresses of putative class members who are or were employed by the VA in one of the occupations
identified herein, to the extent such information is reasonably known and available. The
Administrator and the Government will use their best efforts to identify a current address for any
postcards that are returned as undeliverable.




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        All personal information provided by a class member on a claim in this case is subject to a
Protective Order entered by the court on this date.

       IT IS SO ORDERED.

                                                     s/ Susan G. Braden
                                                     SUSAN G. BRADEN
                                                     Judge




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